                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                                At Nashville


UNITED STATES OF AMERICA,                |
                                         |       3:11-00012
                    PLAINTIFF            |       SENIOR JUDGE WISEMAN
                                         |
V.                                       |
                                         |
CHRIS YOUNG,                             |
                                         |
                    DEFENDANT            |




                  DEFENDANT CHRIS YOUNG’S MOTION FOR
           LEAVE TO JOIN AND ADOPT CERTAIN PRETRIAL PLEADINGS


              Comes Now, the Defendant, Chris Young, by and through his appointed

counsel, Hallie H. McFadden, and respectfully moves this Honorable Court for leave to

join and adopt certain pending pretrial pleadings filed by his co-defendants. Specifically

Mr. Young requests that he be allowed to join and adopt the following:

              1.    Motion to Suppress Evidence Obtained Pursuant to Unlawful

Wiretap (TT1) (Docket Entry 744).

              2.    Motion to Suppress Evidence Obtained Pursuant to Unlawful

Wiretap (TT2) (Docket Entry 745).

              3.    Memorandum of Law in Support Motion to Suppress Evidence

Obtained Pursuant to Unlawful Wiretaps: TT1, TT2, TT3, TT4, TT5, TT6, TT7, TT8,

TT9, TT10, TT11 (Docket Entry 748); and




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                4.       All ancillary motions and exhibits filed in support of those pleadings

including Docket Entries, 746, 747, 749, 750-752, 758-760 and any subsequent filings.

                In support hereof, Mr. Young states as follows:

                As to the issues raised and the relief requested in the above-listed

pleadings, Mr. Young is similarly situated to the co-defendants named in the respective

pleadings.

        WHEREFORE Mr. Young respectfully requests this Honorable Court grant this

Motion and allow him to join and adopt the pretrial pleadings set forth above.

                                                           Respectfully submitted,

                                                           LAW OFFICES OF
                                                           HALLIE H. McFADDEN, P.C.

                                                           By:     s/Hallie H. McFadden
                                                                   Hallie H. McFadden,BPR #17185
                                                                   Attorneys for Defendant
                                                                   P.O. Box 546
                                                                   Signal Mountain, TN 37402
                                                                   TEL: (423) 362-1818



                                        CERTIFICATE OF SERVICE
         I, the undersigned, hereby certify that on May 4, 2012, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s electronic filing system.


                                         /s/ Hallie H. McFadden




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